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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION

Williston Basin Interstate Pipeline            )
Company,                                       )
                                               )
              Plaintiff,                       )      ORDER ADOPTING STIPULATION
                                               )
       vs.                                     )      Case No. 1:09-cv-034
                                               )
Factory Mutual Insurance Company,              )
                                               )
              Defendant.                       )
______________________________________________________________________________
       Before the court is the parties’ Joint Motion to Revise Expert Witness Deposition Schedule

and to Permit Limited Expert Opinion Supplementation. See Docket No. 203. In the motion, the

parties state that they have discussed the need for supplemental expert witness reports, as well as

some adjustments in expert witness designations, in order to simplify matters for trial and reduce

the number of expert witnesses. Id. In addition, the parties are in agreement that due to the

remaining briefing schedule and the upcoming holidays, they both require additional time to

complete expert witness depositions and request an extension accordingly. Based upon the parties’

agreement, and on good cause shown, the court hereby GRANTS the parties’ joint motion, and

ORDERS the following:

       a.      The deadline for expert witness depositions is now February 25, 2011;

       b.      Williston Basin is granted leave to serve a supplemental expert disclosure from

               Edwin Moritz on or before December 17, 2010;

       c.      Factory Mutual is granted leave to serve, on or before January 21, 2011, an

               updated/supplemental expert disclosure of Kenneth Beckman in response to Mr.

               Moritz’s updated/supplemental disclosure;
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 d.     Williston Basin is granted leave to withdraw the designation and report of Robert

        Carson, to designate Donald Bendure as an expert witness in place of Mr. Carson,

        and to provide an updated/supplemental report from Mr. Bendure by December 17,

        2010, addressing the same subject matters of Mr. Carson’s disclosure and providing

        any appropriate supplementation;

 e.     Factory Mutual is granted leave to serve, on or before January 21, 2011, an

        updated/supplemental expert disclosure of Peter Hood in response to Mr. Bendure’s

        updated/supplemental disclosure; and

 f.     Any other or further supplementation of expert reports by previously disclosed

        experts shall be served by December 17, 2010, and any rebuttal to such

        supplementation by January 21, 2011.

 IT IS SO ORDERED.

 Dated this 2nd day of November, 2010.

                                     /s/ Charles S. Miller, Jr.
                                     Charles S. Miller, Jr., Magistrate Judge
                                     United States District Court
